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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      DUBLIN DIVISION

JONATHAN C. GASKINS,                          )
                                              )
              Petitioner,                     )
                                              )
       v.                                     )          CV 315-094
                                              )          (Formerly CR 313-007)
UNITED STATES OF AMERICA,                     )
                                              )
              Respondent.                     )
                                         _________

                                         ORDER
                                         _________

       Petitioner, an inmate at FCI Yazoo City Low in Yazoo City, Mississippi, has filed

with this Court a motion under 28 U.S.C. § 2255 to vacate, set aside, or correct his sentence.

The Clerk of Court SHALL SERVE the United States Attorney with this Order and a copy

of the § 2255 motion. (Doc. no. 1.)

       The Court DIRECTS Respondent to file an answer or response within sixty days of

the date of this Order, and Petitioner shall furnish the United States Attorney in Augusta,

Georgia, with copies of all future motions or papers filed in this case. No discovery shall be

had by either party without leave of Court.

       SO ORDERED this 3rd day of November, 2015, at Augusta, Georgia.
